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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA             )
                                     )       CRIMINAL ACTION NO.
       v.                            )          2:21cr178-MHT
                                     )               (WO)
MARQUIS CORDEION WHITE               )

                          OPINION AND ORDER

       This   case     comes     before       the   court      on       the

recommendation of the United States Magistrate Judge

that    defendant    Marquis      Cordeion      White’s     motion       to

compel production of a confidential-informant file be

denied,       and    on        White’s       objections       to        the

recommendation.        After     hearing     oral   argument    on      the

matter and conducting an independent and de novo review

of the record, the court concludes, for the reasons

explained     below,      that       the    objections     should       be

sustained      in    part      and       deferred   in     part,        the

recommendation deferred in part and rejected in part,

and the motion to compel deferred in part and granted

in part.
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                                  I.

    White is charged with one count of possession with

intent to distribute a controlled substance, namely 50

grams or more of methamphetamine, in violation of 21

U.S.C. § 841(a)(1).         The government alleges that, on

October   18,   2018,     White   sold    the    methamphetamine        to

Carlos    Lynn,    who     was    working       as    a     confidential

informant    for    the    United      States        Drug    Enforcement

Administration     (DEA).         Prior   to    the       indictment    of

White, Lynn passed away.

    White filed a motion to compel production of the

confidential-informant file (hereafter, “CI file”) on

Lynn, pursuant to Federal Rule of Criminal Procedure

16(d), the Due Process Clause of the Fifth Amendment,

and the Confrontation Clause of the Sixth Amendment.

White argues that he is entitled to discovery of the

file, including any arrest reports relating to Lynn’s

agreement to work as a confidential informant.                   In the



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alternative, he moves for the court to conduct an in

camera inspection of the file.

       After     White     filed      his        motion,       the       government

represented that Lynn became a confidential informant

on   or    about      September       12,       2018,    in    lieu       of   being

charged         for      his     involvement             in         a     two-ounce

methamphetamine transaction.                     The government provided

White with copies of Lynn’s three confidential-source

agreements.        The government represents that the CI file

does      not    contain       any        written       agreements          not    to

prosecute       Lynn,    that    the       file       does    not       contain   any

evidence that Lynn was financially compensated by the

DEA, and that the file does not contain arrest reports

concerning Lynn.

       Under      Federal        Rule           of      Criminal          Procedure

16(a)(1)(E)(i),          “Upon        a        defendant’s      request,          the

government must permit the defendant to inspect and to

copy      ...   documents       ...       if    the    item    is       within    the

government’s possession, custody, or control and ...

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the item is material to preparing the defense.”                            When

moving     for   production        on    this    basis,    “the     defendant

must make a specific request for the item together with

an    explanation       of   how    it    will     be    ‘helpful     to    the

defense.’”        United States v. Jordan, 316 F.3d 1215,

1250 (11th Cir. 2003).                  “[T]he defendant must ‘show’

‘more than that the item bears some abstract logical

relationship to the issues in the case.                      There must be

some    indication      that    the      pretrial       disclosure    of    the

item would enable the defendant significantly to alter

the    quantum     of   proof      in   his     favor.’”      Id.    at    1251

(brackets and ellipses omitted) (quoting United States

v. Buckley, 586 F.2d 498, 506 (5th Cir. 1978)*).




    * In Bonner v. City of Prichard, 661 F.2d 1206,
1209 (11th Cir. 1981) (en banc), the Eleventh Circuit
Court of Appeals adopted as binding precedent all of
the decisions of the former Fifth Circuit handed down
prior to the close of business on September 30, 1981.
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                                       II.

       White contends that, due to Lynn’s central role in

the     alleged           controlled   purchase,         he      has    made     a

substantial showing that the CI file is material to the

preparation          of    his   defense.      White         argues    that    the

criminal conduct that precipitated Lynn’s agreement to

work      as     a         confidential      informant,          namely        his

involvement in a two–ounce methamphetamine transaction

roughly one month before the alleged purchase, bears

significant similarity and close temporal proximity to

the alleged exchange in the present case.                              Although

Lynn is unavailable as a witness, White argues that

documentation of how and why Lynn became a confidential

informant       is     material     insofar       as    it    sheds    light    on

Lynn’s       potential        motivation     to    manufacture         evidence

against White and Lynn’s access to methamphetamine from

sources other than White.

       The     court       concludes   that,       in    order    to    resolve

whether contents of the CI file must be disclosed to

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White,      in    camera    review     of    the      file    of    Lynn   is

appropriate to protect White’s right to disclosure of

documents that are material to preparing his defense.

“Although        there   is,   of    course,     no    duty    to    provide

defense counsel with unlimited discovery of everything

known by the prosecutor, if the subject matter of such

a request is material, or indeed if a substantial basis

for claiming materiality exists, it is reasonable to

require the prosecutor to respond either by furnishing

the information or by submitting the problem to the

trial judge.”        United States v. Agurs, 427 U.S. 97, 106

(1976).       As the former Fifth Circuit Court of Appeals

noted, “Requiring materials sought for discovery to be

submitted to the court for an [i]n camera inspection is

a practice which is both reasonable and protective of

the defendant’s rights, and, we might add, one which

has    received      a   measure     of   approval      by    the    Supreme

Court.”      Buckley, 586 F.2d at 506.



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                                     III.

      As to arrest reports reflecting the circumstances

under which Lynn became a confidential informant, the

court concludes that White has made the showing that

the items are material to preparation of his defense.

The    only    issue       is    whether       the    arrest    reports       are

“within       the     government’s           possession,        custody,       or

control.”           Fed.    R.    Crim.      P.    16(a)(1)(E).         As    the

Eleventh Circuit Court of Appeals has observed, “courts

have found that the ‘possession, custody, or control of

the government’ requirement includes materials in the

hands of a governmental investigatory agency closely

connected      to    the    prosecutor.”             Jordan,    316    F.3d    at

1249.      The DEA is closely connected to the prosecutor,

as are its agents.                See United States v. James, 495

F.2d 434, 435–36 (5th Cir. 1974) (observing that the

defendant was entitled to discovery of tapes in the

possession      of    the       Bureau    of      Narcotics    and    Dangerous

Drugs and noting that courts cannot allow “a United

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States      Attorney           to     avoid     discovery     by       pleading

ignorance      of    discoverable            material     which   is    in   the

possession of another governmental agency; especially

is this true when both are supposedly working together

to     apprehend         and        convict     those     engaged      in    the

distribution of illegal drugs”).                     At oral argument, the

government conceded that one of its witnesses, Officer

Ethan Wiggins, was a sworn federal officer and a member

of     a   DEA      task       force.          The      government      further

acknowledged that Officer Wiggins may possess arrest

reports reflecting the circumstances under which Lynn

became a confidential informant.                      The government does

not     appear      to     contest       that     documents       within     the

possession of the DEA or Officer Wiggins are within the

possession, custody, or control of the government.                           The

government must ask the DEA and Officer Wiggins whether

they possess or have in their custody or control any

arrest reports reflecting the circumstances under which

Lynn agreed to become a confidential informant.                         If the

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DEA or Officer Wiggins does possess these items, the

government must produce them to White.

                                         ***

      Accordingly,            after     an     independent        and    de     novo

review of the record, it is ORDERED that:

      (1) The objections (Doc. 57) are sustained in part

and     deferred         in     part,     the       recommendation        of     the

magistrate        judge       (Doc.     55)    is     rejected    in     part    and

deferred       in      part,      and     defendant        Marquis       Cordeion

White’s      motion       to     compel        production        (Doc.    47)     is

deferred in part to the extent that the court shall

conduct an in camera review of the CI file of Carlos

Lynn under the protocol set by the government.                                   The

prosecutor        and     a    DEA     agent    may    remain     in     the    room

during      the     in        camera    review        of   the    file.          The

government        is     to    work     with    the    courtroom        deputy    to

establish a protocol.

      (2)    The       objections        are    sustained        in     part,    the

recommendation of the magistrate judge is rejected in

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part, and defendant White’s motion to compel production

is granted in part to the extent that the court orders

the government to contact DEA Task Force Officer Ethan

Wiggins       to   determine       whether     he    or     the   DEA       has

possession, custody, or control of any arrest reports

or other files reflecting the circumstances under which

Carlos Lynn became a confidential informant.                        If the

DEA    or    Officer    Wiggins     possesses       or    has   custody     or

control of any such arrest reports, the government must

produce them to defendant White.

       DONE, this the 15th day of October, 2021.

                                       /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE
